Case 2:20-cv-11718-GAD-DRG ECF No. 43-10, PagelD.1018 Filed 01/31/22 Pagg:let A
BIT 6

Google LLC
1600 Amphitheatre Parkway
Mountain View, California 94043

 

j ~~ google-legal-support@google.com
Df QO L www.google.com

April 9, 2021

Via Email Only
dporter@khvpf.com

David A. Porter

Kienbaum Hardy Viviano Pelton & Forrest, P.L.C.
280 North Old Woodward Avenue, Suite 400
Birmingham, Michigan 48009

248-645-0000

Re: Anthony Eid v. Wayne State University, et al., United States District Court for the Eastern
District of Michigan, 20-cv-11718 (Internal Ref. No. 5593413)

Dear David A. Porter:

Pursuant to the subpoena issued in the above-referenced matter, we have conducted a diligent search
for documents and information accessible on Google’s systems that are responsive to your request. Without
waiving, and subject to its objections, Google hereby produces the attached documents. Our response is made
in accordance with state and federal law, including the Electronic Communications Privacy Act. See 18 U.S.C.
§ 2701 et seq. By this response, Google does not waive any objection to further proceedings in this matter.

We understand that you have requested customer information regarding the user account(s) specified
in the subpoena, which includes the following information: (1) subscriber information for the Google Account
WOLFFSMITHLAWFIRM@GMAIL.COM.

Accompanying this letter is responsive information to the extent reasonably accessible from our
system, a list of hash values corresponding to each file, and a signed Certificate of Authenticity. Google may
not retain a copy of this production but does endeavor to keep a list of the files and their respective hash
values.

Finally, Google requests reimbursement in the amount of $125 for reasonable costs incurred in
processing your request. Please forward your payment to Google Custodian of Records, at the address above
and please write the Internal Reference Number (5593413) on your check. The federal tax ID number for
Google is XX-XXXXXXX.

Very truly yours,

Sara Plummer
Legal Investigations Support
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Google LLC google-legal-support@google.com
1600 Amphitheatre Parkway www.google.com

Mountain View, California 94043

Hash Values for Production Files (Internal Ref. No. 5593413)
wolffsmithlawfirm@gmail.com.234724878863.GoogleAccount.SubscriberInfo_001.zip:

MDS- 6051639a6bd5f] bf4ccb85ea5385443e

SHAS12-

ea84e8589963cafaad743390123f6c34aa5e9 faal c543d79932222ef439d99c709d 1 OSdfdf4686c43208d0bec81e2
bef5e4fb1010b659d5c174a34100c76732a
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Google LLC google-legal-support@google.com
1600 Amphitheatre Parkway [| www.google.com

Mountain View, California 94043
CERTIFICATE OF AUTHENTICITY
I, Sara Plummer, certify:

1. I am a Custodian of Records for Google LLC (“Google”), located in Mountain View, California. I am
authorized to submit this Certificate of Authenticity on behalf of Google in response to a subpoena dated April
01, 2021 (Google LLC Internal Reference No. 5593413) in the matter of Anthony Eid v. Wayne State
University, et al.. | have personal knowledge of the following facts and could testify competently thereto if
called as a witness.

2. The accompanying 1 file(s) contain true and correct copies of records pertaining to the email address
WOLFFSMITHLAWFIRM@GMAIL.COM (“Document”).

3. The documents attached hereto reflect records made and retained by Google. The records were made at or
near the time the data was acquired, entered, or transmitted to or from Google; the records were kept in the
course of a regularly conducted activity of Google; and the making of the records were a regular practice of
that activity.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and

correct.

DATED: April 9, 2021

SS Poe

Sara Plummer, Custodian of Records for Google LLC
1/30/22, £288 2:20-cv-11718-GAD-DRG ECF No. 43-10, Geegpedtdoi@21 Filed 01/31/22 Page 4 of 4
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GOOGLE SUBSCRIBER INFORMATION

Google Account ID: 234724878863
Name:

e-Mail: wolffsmithlawfirm@gmail.com
Alternate e-Mails:

Created on: 2018-10-26 00:02:35 UTC
Terms of Service IP:

Deletion Date: 2018-11-27 21:03:44 UTC
Deletion IP:

Status: Deleted
Last Logins:

ACCOUNT RECOVERY

Contact e-Mail: wolffsmithlawfirm@gmail.com
Recovery e-Mail:
Recovery SMS:

PHONE NUMBERS

Signin Phone Numbers:

User Phone Numbers:

Reachable Phone Numbers:

2-Step Verification Phone Numbers:

IP ACTIVITY
No User IP Logs

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file:///C:/Users/dporter/AppData/Local/Temp/Temp1_409720.zip/Google Account/wolfismithlawfirm.Subscriberlnfo.html
